







		NO. 12-08-00178-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: CHARLES S. HEFLIN AND

FIDELITY FACTORS, LLC, §
	ORIGINAL PROCEEDING

RELATORS

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MEMORANDUM OPINION


PER CURIAM


	The relators have filed a motion to dismiss this original mandamus proceeding with
prejudice.  In their motion, the relators state that the parties have compromised and settled the
underlying cause of action and have filed a motion for nonsuit in the trial court.  Therefore, the
relators further allege, they no longer wish to pursue this original proceeding and the real parties in
interest have agreed to the motion.  Because the relators have met the requirements of Texas Rule
of Appellate Procedure 42.1(a)(1), the motion is granted, and the original proceeding is dismissed
with prejudice.  

Opinion delivered June 25, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.






(PUBLISH)


